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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:09CR26
                    Plaintiff,                    )
                                                  )
      vs.                                         )             ORDER
                                                  )
MICHAEL A. PERKINS,                               )
                                                  )
                    Defendant.                    )
      This matter is before the court on the motion to continue by defendant Michael A.
Perkins (Perkins) (Filing No. 15). Perkins seeks a continuance of the trial of this matter
which is scheduled for March 30, 2009. Perkins has submitted an affidavit wherein he
represents that he consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 16). Upon
consideration, the motion will be granted.


      IT IS ORDERED:
      1.     Perkins’s motion to continue trial (Filing No. 15) is granted.
      2.     Trial of this matter is re-scheduled for April 22, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
March 25, 2009 and April 22, 2009, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason that defendants'
counsel require additional time to adequately prepare the case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
      DATED this 25th day of March, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
